      Case 2:07-cr-00159-MSD-FBS Document 23 Filed 10/11/07 Page 1 of 2 PageID# 77



                                                                                                            FIl.FO
                                IN THE UNITED            STATES DISTRICT             COUR^            IN OPF?« COURT

                                FOR THE EASTERN DISTRICT OF VIRGINI^.
                                               Norfolk Division                                       OCT I I 2G07

                                                                                                CLtRK. US DISTRICT COURT
                                                                                                       NG;VOLK. VA

UNITED        STATES            OF AMERICA,


v.                                                                CRIMINAL NO.             2:07crl59


BENJAMIN        C.         JONES,      III,


                    Defendant.




                                        REPORT AND          RECOMMENDATION
                                        CONCERNING          PLEA OF      GUILTY


        The Defendant,                  by consent,         has   appeared before me pursuant to


Federal Rule of Criminal                        Procedure         11,    and    referral          from a United

States        District               Judge,    and    has      entered   a    plea        of    guilty      to       Count

One     (1)    of          the       Indictment.          After       cautioning          and    examining             the


Defendant under oath concerning each of                                   the    subjects mentioned in

Rule    11,        I       determined         that    the      guilty    plea    was       knowledgeable               and

voluntary,                 and       that     the    offense          charged        is    supported             by     an


independent                 basis       in    fact       establishing          each        of    the     essential

elements           of      such      offense.        I   therefore       recommend             that   the     plea      of


guilty        be       accepted         and    that      the    Defendant       be    adjudged         guilty          and

have    sentence                imposed       accordingly.


        Failure                 to    file     written          objections           to    this        Report          and

Recommendation                   within       ten    (10)      days    from    the    date       of   its     service

shall         bar          an    aggrieved          party       from    attacking              such    Report          and

Recommendation                   before       the    assigned         United    States          District         Judge.


28    U.S.C.           §    636(b)(1)(B).
   Case 2:07-cr-00159-MSD-FBS Document 23 Filed 10/11/07 Page 2 of 2 PageID# 78




                                          UNITED STATES     MAGISTRATE    JUDGE

Norfolk,   Virginia


October \\ , 2007
